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IN THE UNITED STATES OF AMERICA

July 15, 2021
The Honorable Stephanie A. Gallagher,
I humbly ask for the Court to render a Judgment which is final and allows the plaintiff to move
on with his life. All parties have had the opportunity to obtain discovery and the record has been
established. The Defendant has been made fully aware of the claims which have been brought
against him, and has been given the opportunity to make a defense against these claims. It has
become necessary to swiftly conclude this case; justice will have been accomplished, and the
Court will have properly and impartially administered these proceedings in a way that highlights
the strength of our judicial branch. It has become clear that the Defendant has no further
arguments, or any intention to reach a settlement. I have tried to contact Brian by phone and
email, and I have made strenuous efforts to see if they would be willing to just make the payment
and then file a stipulated dismissal of the case. Of course, they have been dead silent since
discovery has ended, for obvious reasons including the fact that they have zero evidence to build
any cognizable defense. In any event, there is no doubt what the outcome of this case will be. It
was never close. As I directly stated to Brian in my various emails sent over the past few days,
the payment which is forthcoming from M&T is fair, reasonable and justified. M&T Bank needs
the Court to compel them to make this payment or they will continue to waste my time and the
Court’s time, which is not acceptable and cannot be allowed by the Court. Furthermore, a hard
deadline must be set in place, because they will take advantage of the process if there is not a
hard cut off. This company is managed by individuals who possess the maturity level of an
indignant adolescent child, so the Court must treat them accordingly by forcing them to face the
music. This Company literally has hundreds of millions of dollars at its disposal, and $6 million
is virtually nothing. The Court must compel them by rendering Judgment in a swift and definite
manner. If M&T has any quarrels they can take it up on appeal. Payoff instructions and the
suggested hard deadline for wire transfer follow; there must be an appealable Judgment of this
case which forces M&T to make this payment in the manner set out below. If they are given the
license they will take advantage and continue in contempt of an efficient determination, so the
payoff must be governed by strict timing requirements.
                                           *       *      *
The payoff amount is $6,139,495.201. The routing number for the wire transfer is 026009593.
Hard Deadline of 3:00 pm EST on July 16, 2021 with $100,000 per day ticking fee if they are
late in satisfying the payment.




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    Full accounting of this amount is available on request.
